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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: SUBPOENA TO ROBERT WASON

______________________________________________

LISA T. LEBLANC, ET AL.                               MISCELLANEOUS ACTION

VERSUS                                                NUMBER: 21-0773

TEXAS BRINE COMPANY, LLC                              SECTION: “A”(5)


                                        ORDER ON MOTION
                                          MAY 25, 2021

APPEARANCES:

MOTION:

(1)     Motion to Quash of Robert Wason, Legacy Vulcan, LLC, and Vulcan Materials (Rec.
        doc. 1).

        :       Continued to

        :       No opposition.

  1      :      Opposition.




                                                 ORDERED

        :       Dismissed as moot.

        :       Dismissed for failure of counsel to appear.

  1      :      Granted. It is undisputed that merits discovery has been closed in this matter
                for many years and that such discovery would have to be re-opened for the
                subject depositions to take place. Texas Brine has failed to establish good
                cause for (1) reopening merits discovery and (2) taking the subject
                deposition. Indeed, there appears no cause to take the deposition in this
                litigation, given the recent judgment in the Louisiana Twenty-Third Judicial
                District Court finding that the contracts about which Texas Brine seeks to
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      question the proposed deponent “ceased to exist and have any effect as of
      March 27, 2008 by operation of confusion,” and that any actions for damages
      by Texas Brine against Legacy Vulcan arising after March 27, 2008 that are
      based on the contracts are dismissed with prejudice. (Rec. doc. 25-4).
      Ultimately, it is clear to the Court that Texas Brine seeks to use process in
      this federal litigation to conduct discovery primarily – if not entirely – for its
      use in the pending arbitration. The Court declines to allow Texas Brine to
      end-run the arbitrator’s exclusive authority to authorize discovery in that
      proceeding. See CIGNA Healthcare of St. Louis, Inc. v. Kaiser, 294 F.3d 849,
      855 (7th Cir. 2002) (“responsibility for the conduct of discovery lies with the
      arbitrators—indeed, for the sake of economy and in contrast to the practice
      in adjudication, parties to an arbitration do not conduct discovery; the
      arbitrators do.”).

 :    Denied.

 :    Other.



                                           MICHAEL B. NORTH
                                     UNITED STATES MAGISTRATE JUDGE




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